     Case 1:20-cv-03127-SAB   ECF No. 80    filed 09/16/20   PageID.2543 Page 1 of 4




 1   ROBERT W. FERGUSON
     Attorney General
 2   NOAH GUZZO PURCELL, WSBA #43492
 3   Solicitor General
     NATHAN K. BAYS, WSBA #43025
 4   KRISTIN BENESKI, WSBA #45478
     ANDREW R.W. HUGHES, WSBA #49515
 5   CRISTINA SEPE, WSBA #53609
 6
     Assistant Attorneys General
     EMMA GRUNBERG, WSBA #54659
 7   TERA M. HEINTZ, WSBA #54921
       (application for admission forthcoming)
 8   KARL D. SMITH, WSBA #41988
     Deputy Solicitors General
 9   800 Fifth Avenue, Suite 2000
10   Seattle, WA 98104
     (206) 464-7744
11

12
                      UNITED STATES DISTRICT COURT
13                   EASTERN DISTRICT OF WASHINGTON
14                              AT YAKIMA

15      STATE OF WASHINGTON, et al.,                NO. 1:20-cv-03127-SAB
16                            Plaintiffs,           SUPPLEMENTAL
                                                    DECLARATION OF
17           v.                                     ANDREW R.W. HUGHES IN
18                                                  SUPPORT OF PLAINTIFFS’
        DONALD J. TRUMP, et al.,                    MOTION FOR
19                                                  PRELIMINARY
                              Defendants.           INJUNCTION
20

21
                                                    NOTED FOR: September 17,
                                                    2020 at 10:00 a.m.
22                                                  With Oral Argument
23

24

25

26
                                                             ATTORNEY GENERAL OF WASHINGTON
      SUPP. DECLARATION OF                     1                  Complex Litigation Division
      ANDREW R.W. HUGHES ISO                                      800 Fifth Avenue, Suite 2000
                                                                      Seattle, WA 98104
      PLAINTIFFS’ MOTION FOR                                             (206) 464-7744
      PRELIMINARY INJUNCTION
      NO. 1:20-CV-03127-SAB
     Case 1:20-cv-03127-SAB     ECF No. 80    filed 09/16/20   PageID.2544 Page 2 of 4




 1         I, ANDREW R.W. HUGHES, declare and affirm:
 2         1.     I am an Assistant Attorney General with the Washington State
 3   Office of the Attorney General. I have personal knowledge of the matters stated
 4   herein, and if called as a witness, I would testify competently to this information.
 5         2.     Attached as Exhibit DD is a true and correct copy of a PDF image
 6   of    the    webpage     Service     Alerts       on   USPS.com,       available       at
 7   https://about.usps.com/newsroom/service-alerts/. This image was captured by
 8   my office on September 15, 2020.
 9         3.     Attached as Exhibit EE is a true and correct copy of a July 14, 2020
10   email from Robert Cintron, USPS’s Vice President of Logistics, which was
11   produced as part of Defendants’ discovery responses in this litigation. This email
12   begins at Bates No. USPS00000216.
13         4.     Attached as Exhibit FF is a true and correct copy of the Testimony
14   of S. David Fineman before the House Committee on Oversight and Reform
15   (Sept. 11, 2020), available at https://bit.ly/32Amdfr.
16         5.     Attached as Exhibit GG is a true and correct copy of a PDF version
17   of the Excel spreadsheet of service performance data for market-dominant
18   products for the weeks of January 4, 2020 through August 22, 2020. Defendants
19   produced the native Excel version as part of their discovery responses in this
20   litigation at Bates No. USPS00002260. The attached PDF image of the native file
21   was created by my office on September 16, 2020.
22         6.     Attached as Exhibit HH is a true and correct copy of a USPS
23   document entitled Quarterly Performance for Single-Piece First Class Mail for
24   Quarter III, FY2020, available at https://bit.ly/3c6KHjy.
25

26
                                                                ATTORNEY GENERAL OF WASHINGTON
      SUPP. DECLARATION OF                         2                 Complex Litigation Division
      ANDREW R.W. HUGHES ISO                                         800 Fifth Avenue, Suite 2000
                                                                         Seattle, WA 98104
      PLAINTIFFS’ MOTION FOR                                                (206) 464-7744
      PRELIMINARY INJUNCTION
      NO. 1:20-CV-03127-SAB
     Case 1:20-cv-03127-SAB     ECF No. 80   filed 09/16/20   PageID.2545 Page 3 of 4




 1         I declare under penalty of perjury of the laws of Washington that the
 2   foregoing is true and correct.
 3         DATED this 16th day of September, 2020.
 4

 5                                      s/Andrew R.W. Hughes
                                        ANDREW R.W. HUGHES, WSBA #49515
 6                                      Assistant Attorney General
                                        Complex Litigation Division
 7                                      Attorney General’s Office of Washington
 8                                      State

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
                                                               ATTORNEY GENERAL OF WASHINGTON
      SUPP. DECLARATION OF                      3                   Complex Litigation Division
      ANDREW R.W. HUGHES ISO                                        800 Fifth Avenue, Suite 2000
                                                                        Seattle, WA 98104
      PLAINTIFFS’ MOTION FOR                                               (206) 464-7744
      PRELIMINARY INJUNCTION
      NO. 1:20-CV-03127-SAB
     Case 1:20-cv-03127-SAB    ECF No. 80   filed 09/16/20   PageID.2546 Page 4 of 4




 1                          DECLARATION OF SERVICE
 2         I hereby declare that on this day I caused the foregoing document to be
 3
     electronically filed with the Clerk of the Court using the Court’s CM/ECF System
 4
     which will serve a copy of this document upon all counsel of record.
 5
           DATED this 16th day of September, 2020, at Tumwater, Washington.
 6

 7
                                  /s/ Jennifer D. Williams
 8                                JENNIFER D. WILLIAMS
                                  Paralegal
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
                                                              ATTORNEY GENERAL OF WASHINGTON
      SUPP. DECLARATION OF                     4                   Complex Litigation Division
      ANDREW R.W. HUGHES ISO                                       800 Fifth Avenue, Suite 2000
                                                                       Seattle, WA 98104
      PLAINTIFFS’ MOTION FOR                                              (206) 464-7744
      PRELIMINARY INJUNCTION
      NO. 1:20-CV-03127-SAB
